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                                                       U.S. Department of Justice

                                                       Consumer Protection Branch
                                                       United States Department of Justice

CBD/JWB/AFE/REB                                        450 5th St. NW
F. #2016R00349                                         Washington, D.C. 20001
                                                       May 23, 2023
By ECF and Email

The Honorable Joanna Seybert
United States District Judge
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

              Re:     United States v. Patrice Runner
                      Criminal No. CR 18-578 (JS)

Dear Judge Seybert:

        Consistent with the Court’s March 29, 2023 Scheduling Order, the parties hereby jointly submit
their proposed jury instructions. In the joint proposed jury instructions, changes proposed by defense
counsel on which the parties disagree, including the parties’ comments on those disagreements, have
been highlighted using the Microsoft Word “Tracked Changes” and “Comments” functions.

                                                       Respectfully submitted,


                                            By:               /s/
                                                       Ann Entwistle
                                                       Charles B. Dunn
                                                       John W. Burke
                                                       Rachel E. Baron
                                                       Trial Attorneys, Consumer Protection Branch
                                                       United States Department of Justice
                                                       (202) 305-7227
Enclosures
cc:    James Darrow, Esq. (by ECF and Email)
       Charles Millioen, Esq. (by ECF and Email)




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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------X

UNITED STATES OF AMERICA

       - against –                            18-CR-578 (JS)

PATRICE RUNNER

                            Defendants.



                 THE PARTIES’ REQUESTS TO CHARGE




Charles B. Dunn
John W. Burke
Ann Entwistle
Rachel E. Baron
Trial Attorneys, Consumer Protection Branch
United States Department of Justice




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                               THE JOINT REQUEST TO CHARGE

        Pursuant to Rule 30 of the Federal Rules of Criminal Procedure, the prosecution and

defense respectfully request that the Court provide the following in its instructions to the jury:1

[any defense disagreements are marked in “tracked changes”]

        Now that the evidence in this case has been presented, and the attorneys for the

government and the defendants have concluded their closing arguments, it is my responsibility to

instruct you as to the law that governs this case. My instructions will be in three parts.

        First, I will instruct you regarding the general rules that define and govern the duties of a

jury in a criminal case.

        Second, I will instruct you as to the legal elements of the crimes charged in the

indictment; that is, the specific elements that the government must prove beyond a reasonable

doubt to warrant a finding of guilt.

        And, third, I will give you some general instructions and rules regarding your

deliberations.




1
  The government’s proposed jury charge, unless otherwise noted, is adapted from the charge given by the
Honorable Joan M. Azrack in the Transcript of United States v. Sean Novis and Gary Denkberg, 20-CR-
335 (JMA) (May 13, 2022).

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PART I: GENERAL RULES

         1.      The Duties of the Jury

        To begin with, it is your duty to find the facts from all of the evidence in this case. You

are the sole judges of the facts and it is, therefore, for you and you alone to pass upon the weight

of the evidence, and to draw such inferences as you deem to be reasonable and warranted from

the evidence or lack of evidence in this case.

        With respect to any question concerning the facts, it is your recollection of the evidence

that controls.

        To the facts as you find them, you must apply the law in accordance with my instructions.

While the lawyers may have commented on some of these legal rules, you must be guided only

by what I instruct you about them. You must follow all the rules as I explain them to you. You

may not follow some and ignore others.




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         2.      Parties are equal before the court

       The fact that this prosecution is brought in the name of the United States Government

does not entitle the United States to any greater consideration than the defendant is entitled to.

By the same token, it is entitled to no less consideration. The parties - the United States

Government and the defendant - are equal before this court, and they are entitled to equal

consideration.

       Neither the government nor the defendant are entitled to any sympathy or favor.




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         3.    Presumption of Innocence and Burden of Proof

       You must remember that the indictment in this case is only an accusation. It is not

evidence. The defendant has pled not guilty to that indictment.

       As a result of the defendant’s plea of not guilty, the burden is on the prosecution to prove

guilt beyond a reasonable doubt. This burden never shifts to the defendant for the simple reason

that the law never imposes upon a defendant in a criminal case the burden or duty of calling any

witness or producing any evidence.

        The law presumes the defendant to be innocent of all the charges against him. I therefore

instruct you that the defendant is to be presumed by you to be innocent throughout your

deliberations until such time, if ever, you as a jury are satisfied that the government has proven

the defendant guilty beyond a reasonable doubt.

         The defendant begins the trial here with a clean slate. This presumption of innocence

alone is sufficient to acquit the defendant unless you as jurors are unanimously convinced

beyond a reasonable doubt of his guilt, after a careful and impartial consideration of all of the

evidence in this case. If the government fails to sustain its burden, you must find the defendant

not guilty.

         This presumption was with the defendant when the trial began and remains with the

defendant even now as I speak to you and will continue with the defendant into your

deliberations unless and until you are convinced that the government has proven his guilt beyond

a reasonable doubt.




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         4.    Proof Beyond a Reasonable Doubt

       I have said that the government must prove the defendant guilty beyond a reasonable

doubt. The question naturally is what is a reasonable doubt? The words almost define

themselves. It is a doubt based upon reason and common sense. It is a doubt that a reasonable

person has after carefully weighing all of the evidence. It is a doubt which would cause a

reasonable person to hesitate to act in a matter of importance in his or her personal life. Proof

beyond a reasonable doubt must, therefore, be proof of such a convincing character that a

reasonable person would not hesitate to rely and act upon it in the most important of his own

affairs. A reasonable doubt is not a caprice or whim; it is not a speculation or suspicion. It is not

an excuse to avoid the performance of an unpleasant duty. And it is not sympathy.

        In a criminal case, the burden is at all times upon the government to prove guilt beyond a

reasonable doubt. The law does not require that the government prove guilt beyond all possible

doubt; proof beyond a reasonable doubt is sufficient to convict. This burden never shifts to the

defendant, which means that it is always the government’s burden to prove each of the elements

of the crimes charged beyond a reasonable doubt.

       If, after fair and impartial consideration of all of the evidence, you have a reasonable

doubt, it is your duty to acquit the defendant. On the other hand, if after fair and impartial

consideration of all the evidence you are satisfied that the defendant’s guilt has been proven

beyond a reasonable doubt, you should vote to convict.




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        5.     The Evidence

       I wish to instruct you now as to what is evidence and how you should consider it.

               A.      What is evidence:

        The evidence upon which you are to decide what the facts are comes in several forms:

        (1)     Sworn testimony of witnesses, both on direct and cross-examination;

        (2)     Exhibits that have been received in evidence by the court; and

        (3)     Facts to which the lawyers have agreed or stipulated.

               B.      What is not evidence:

        Certain things are not evidence and are to be disregarded by you in deciding what the

facts are:

         (1)    The contents of the indictment are not evidence;

         (2)    Arguments or statements by lawyers are not evidence;

         (3)    Questions put to the witnesses are not evidence;

         (4)    Objections to the questions or to offered exhibits are not evidence.

        In this regard, attorneys have a duty to their clients to object when they believe evidence

should not be received. You should not be influenced by the objection or by the court's ruling on

it. If the objection was sustained, ignore the question. If the objection was overruled, treat the

answer like any other answer. If I told you to disregard certain testimony or sustained a lawyer’s

request to disregard or strike certain testimony, you are to disregard the testimony.

         (5)    What I say in these instructions is not evidence.

         (6)    If evidence has been received for a limited purpose, you must consider that

                evidence for that limited purpose only.




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         (7)     Obviously, anything you may have seen or heard outside the courtroom is not

                 evidence.

        Your verdict must be based solely upon the evidence developed at trial or the lack of

evidence.

        It would be improper for you to consider, in reaching your decision as to whether the

government sustained its burden of proof, any personal feelings you may have about the

defendant’s race, religion, national origin, ethnic background, sex, or age. All persons are

entitled to the presumption of innocence and the government has the same burden of proof

regardless of who the defendant is.

        In addition, it would be equally improper for you to allow any feelings you might have

about the nature of the crimes charged to interfere with your decision-making process.

        To repeat, your verdict must be based exclusively upon the evidence or the lack of

evidence in the case.

                C.      Direct and Circumstantial evidence

        I told you that evidence comes in various forms such as the sworn testimony of witnesses,

exhibits, and stipulations.

        There are, in addition, different kinds of evidence - direct and circumstantial.

        (1)    Direct evidence is the communication of a fact by a witness who testifies to the

knowledge of that fact as having been obtained through one of the five senses. So, for example, a

witness who testifies to knowledge of a fact because he saw it, heard it, smelled it, tasted it, or

touched it is giving evidence which is direct. What remains is your responsibility to pass upon

the credibility of that witness.




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       (2)     Circumstantial evidence is evidence which tends to prove a fact in issue by proof

of other facts from which the fact in issue may be inferred.

       The word “infer” - or the expression “to draw an inference” - means to find that a fact

exists from proof of another fact. For example, if a fact in issue is whether it is raining at the

moment, none of us can testify directly to that fact sitting, as we are, here in this windowless

courtroom. Assume, however, that as we are sitting here, a person walks into the courtroom

wearing a raincoat that is soaking wet and carrying an umbrella dripping water. We may infer

that it is raining outside. In other words, the fact of rain is an inference that could be drawn from

the wet raincoat and the dripping umbrella. An inference is to be drawn only if it is logical and

reasonable to do so. In deciding whether to draw an inference, you must look at and consider all

the facts in the light of reason, common sense, and experience. Whether a given inference is or is

not to be drawn is entirely a matter for you, the jury, to decide. Please bear in mind, however,

that an inference is not to be drawn by guesswork or speculation.

       The law makes no distinction between direct and circumstantial evidence. You may

consider both. What the law does require is that before any defendant is convicted of a crime, a

jury must be satisfied of that defendant’s guilt beyond a reasonable doubt based on the jury’s

assessment of all of the evidence in the case.

       I remind you once again that you may not convict a defendant unless you are convinced

of his guilt beyond a reasonable doubt, whether based on direct evidence, circumstantial

evidence, or the logical inferences to be drawn from such evidence. Circumstantial evidence

does not necessarily prove less than direct evidence, nor does it necessarily prove more. You are

to consider all the evidence in the case, direct and circumstantial, in determining what the facts

are and in arriving at your verdict.


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               D.      Number of Witnesses and Uncontradicted Testimony

       The fact that one party called more witnesses and introduced more evidence than the

other does not mean that you should necessarily find the facts in favor of the side offering the

most witnesses. By the same token, you do not have to accept the testimony of any witness who

has not been contradicted or impeached, if you find the witness not to be credible. You also have

to decide which witnesses to believe and which facts are true. To do this you must look at all the

evidence, drawing upon your own common sense and personal experience. After examining all

the evidence, you may decide that the party calling the most witnesses has not persuaded you

because you do not believe its witnesses, or because you find the evidence and argument

presented by the other side to be more persuasive.

       In a moment, I will discuss the criteria for evaluating credibility; for the moment,

however, you should keep in mind that the burden of proof is always on the government and the

defendant is not required to call any witnesses or offer any evidence, since he is presumed to be

innocent.




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        6.      Rulings by the Court

        My next instruction relates to the rulings and statements that I made during the course of

this trial. I hereby instruct you that nothing that I said during the course of the trial, no question

that I have asked, no ruling that I have made, and no statement that I may make in this charge,

should be interpreted in any way whatsoever as a suggestion of what decision I believe you

should make. You should understand that I have no opinion as to the decision you should make

in this case.

        You will remember that at various times throughout the trial, I have been called upon to

make rulings on various questions of law. I have sustained objections and I have overruled

objections. Please do not concern yourself with my reasons for making the rulings that I made.

These are purely legal matters and must not affect your deliberation on the factual matters in this

case. Nor are you to draw any inferences for or against a party because that party raised

objections during the course of the case. It is the duty of the attorneys on each side of the case to

object when the other side offers testimony or other evidence which the attorney believes is not

properly admissible. You should not hold it against an attorney – or the defendant – either

because the attorney has made objections, or because some of those objections may have been

overruled by me.

        When the Court has sustained an objection to a piece of evidence or a question addressed

to a witness, you must disregard it entirely and may draw no inference from it or speculate as to

what the witness would have said if he or she had been permitted to answer the question.

Similarly, if after a question was asked and an answer given, the answer was ordered stricken

from the record, you must disregard both the answer and the question.




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       You are further instructed that with respect to every situation where testimony has been

stricken, the reason for that ruling relates to a matter of law which is no concern of yours and not

for your consideration. Once stricken, such testimony must be disregarded and ignored. The

reasons for my striking such testimony should not be discussed among you, nor should you

speculate or guess about the basis for my ruling. By the same token, where I allowed testimony

or exhibits to be received into evidence over the objection of counsel, this was not an indication

that I have any opinion as to the weight or effect of such evidence. That is for you to decide.

       In reaching your verdict, you also are not to concern yourselves in any way with the

conferences which sometimes took place at the side bar between the Court and counsel for the

parties, nor are you to draw any inferences for or against any party because that party may have

requested such a conference.

       You also must not draw any conclusion whatsoever from the fact that from time to time I

may have asked questions of witnesses. This was solely to elicit facts which may or may not be

material to your determination.

       Remember that, in making your determination as to the facts, you should rely upon your

own recollection of the evidence. What I said from time-to-time during the course of the trial, or

what I say in the charge that I am now giving you, should not be taken in place of your own

recollection of the evidence in this case.




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        7.      Witness Credibility – General Instruction

        You have had an opportunity to observe all of the witnesses. It is now your job to decide

how believable each witness was in his or her testimony. You are the sole judges of the

credibility of each witness and of the importance of his or her testimony. You may believe all of

what a witness said, or only a part of it, or none of it.

        It must be clear to you by now that you are being called upon to resolve various factual

issues under the counts of the indictment, in the face of the very different pictures painted by the

government and the defense which cannot be reconciled. You will now have to decide where the

truth lies, and an important part of that decision will involve making judgments about the

testimony of the witnesses you have listened to and observed. In making those judgments, you

should carefully scrutinize all of the testimony of each witness, the circumstances under which

each witness testified, their memories, motivations, and any other matter in evidence which may

help you to decide the truth and the importance of each witness’ testimony.

        Your decision whether or not to believe a witness may depend on how that witness

impressed you. Was the witness candid, frank and forthright? Or, did the witness seem as if he

or she was hiding something, being evasive or suspect in some way? How did the way the

witness testified on direct examination compare with how the witness testified on cross-

examination? Was the witness consistent in his or her testimony or did he or she contradict

himself or herself? Did the witness appear to know what he or she was talking about and did the

witness strike you as someone who was trying to report his or her knowledge accurately?

        How much you choose to believe a witness may be influenced by the witness’ bias. Does

the witness have a relationship with the government or the defendant which may affect how he or

she testified? Does the witness have some incentive, loyalty or motive that might cause him or


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her to shade the truth; or, does the witness have some bias, prejudice or hostility that may have

caused the witness — consciously or not — to give you something other than a completely

accurate account of the facts he or she testified to?

        Even if the witness was impartial, you should consider whether the witness had an

opportunity to observe the facts he or she testified about and you should also consider the

witness’ ability to express himself or herself. Ask yourselves whether the witness’ recollection of

the facts stand up in light of all other evidence.

        In other words, what you must try to do in deciding credibility is to size up a person in

light of his or her demeanor, the explanations given, and in light of all the other evidence in the

case, just as you would in any important matter where you are trying to decide if a person is

truthful, straightforward and accurate in his or her recollection. In deciding the question of

credibility, remember that you should use your common sense, your good judgment, and your

experience.




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       8.      Preparation of Witnesses

       You have heard during the trial that the witnesses have discussed the facts of the case and

their testimony with the lawyers before the witnesses appeared in court.

       Although you may consider that fact when you are evaluating a witness’s credibility, I

should tell you that there is nothing either unusual or improper about a witness meeting with

lawyers before testifying so that the witness can be aware of the subjects he will be questioned

about, focus on those subjects, and have the opportunity to review relevant exhibits before being

questioned about them. Such consultation helps conserve your time and the Court’s time. In

fact, it would be unusual for a lawyer to call a witness without such consultations.

       But, you may consider the fact or the nature of the witness’s preparation for his or her

testimony, and what inferences you draw from such preparation are matters completely within

your discretion when weighing the witness’ credibility.




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        9.      Interest in Outcome

        In evaluating credibility of the Government’s witnesses, you should take into account any

evidence that the witness who testified may benefit in some way from the outcome of this case.

Such an interest in the outcome creates, at least potentially, a motive to testify falsely and may

sway the witness to testify in a way that advances his or her own interests. Therefore, if you find

that any witness whose testimony you are considering may have an interest in the outcome of this

trial, then you should bear that factor in mind when evaluating the credibility of his or her

testimony and accept it with great care.

        This is not to suggest that every witness who has an interest in the outcome of a case will

testify falsely. It is for you to decide to what extent, if at all, the witness’ interest has affected or

colored his or her testimony.




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       10.       Bias and Hostility

       In connection with your evaluation of the credibility of the witness, you should specifically

consider evidence of resentment or anger, which some government witnesses may have toward

the defendant.

       Evidence that the witness is biased, prejudiced or hostile towards the defendant requires

you to view the witness’ testimony with caution, to weigh it with care, and subject it to close

and searching scrutiny.




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       11.     Credibility – Prior Inconsistent Statements (if applicable)

       You have heard evidence that a witness made a statement on an earlier occasion which

counsel argues is inconsistent with the witness’ trial testimony. Evidence of the prior

inconsistent statement was placed before you for the limited purpose of helping you decide

whether to believe the trial testimony of the witness who contradicted himself or herself. If you

find that the witness made an earlier statement that conflicts with this trial testimony, you may

consider that fact in deciding how much of his or her trial testimony, if any, to believe.

       You may also consider a witness’s failure to mention a critical fact when that witness was

first interviewed. The omission of a material fact from an earlier statement may be relevant to

your evaluation of the witness’s credibility.

       In making this determination, you may consider whether the witness purposely made a

false statement or whether it was an innocent mistake; whether the inconsistency concerns an

important fact, or whether it had to do with a small detail; whether the witness had an

explanation for the inconsistency, and whether that explanation appealed to your common sense.

       It is exclusively your duty, based upon all the evidence and your own good judgment, to

determine whether the prior statement was inconsistent, and if so how much, if any, weight to be

given to the inconsistent statement in determining whether to believe all or part or none of the

witness’ testimony.




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       12.     Law Enforcement Witnesses

       You have heard testimony of law enforcement officers and government employees. The

fact that a witness may be employed as a law enforcement officer does not mean that his or her

testimony is necessarily deserving of more or less consideration or greater or lesser weight than

that of an ordinary witness.

       At the same time, it is quite legitimate for defense counsel to try to question the

credibility of a law enforcement witness on the grounds that his or her testimony may be colored

by a personal or professional interest in the outcome of the case.

       It is your decision, after reviewing all the evidence, whether to accept the testimony of

the law enforcement witness and to give to that testimony whatever weight, if any, you find it

deserves.




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       13.     Testimony Pursuant to a Plea Agreement2 (If applicable)

       In this case, there has been testimony from Maria Thanos, Philip Lett, and Daniel Arnold,

government witnesses who pled guilty to charges after entering into an agreement to cooperate

with the government. You have heard evidence that the government agreed not to prosecute

these individuals on other charges in exchange for their agreement to plead guilty and testify at

this trial. The government also promised to bring their cooperation to the attention of the

sentencing court.

       The government is permitted to enter into this kind of plea agreement. You, in turn, may

accept the testimony of such a witness and convict a defendant based on this testimony alone, if

it convinces you of the defendants’ guilt beyond a reasonable doubt.

       However, you should bear in mind that a witness who has entered into such an agreement

has an interest in this case different than an ordinary witness. A witness who realizes that he or

she may be able to obtain his or her own freedom, or receive a lighter sentence by giving

testimony favorable to the prosecution, has a motive to testify falsely. Therefore, you must

examine this testimony with caution and weigh it with great care. If after scrutinizing this

testimony you decide to accept it, you may give it whatever weight, if any, you find that it

deserves.

       Moreover, I instruct you that you are to draw no conclusions or inferences of any kind

about the guilt of any of the defendants on trial from the fact that a prosecution witness pled

guilty to similar charges. That witness’s decision to plead guilty was a personal decision about




2
 This charge is adapted from the charge given by the Honorable Joan M. Azrack in United States v.
Edward Weaver, 13-CR-120 (JMA), ECF Doc. No. 318, filed Nov. 4, 2015.

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his or her own guilt. It may not be used by you in any way as evidence against or unfavorable to

the defendants on trial here.




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        14.    Defendant’s Testimony (if applicable)3

        The defendant in a criminal case never has any duty to testify or come forward with any

evidence. This is because, as I have told you, the burden of proof beyond a reasonable doubt

remains on the government at all times, and the defendant is presumed innocent. In this case, the

defendant did testify and he was subject to cross-examination like any other witness. You should

examine and evaluate the testimony just as you would the testimony of any other witness.

                                                  OR

        14.    Defendant’s Right Not to Testify (if applicable)

        The defendant did not testify in this case. Under our Constitution, a defendant has no

obligation to testify or to present any evidence, because it is the government’s burden to prove a

defendant guilty beyond a reasonable doubt. That burden remains with the government

throughout the entire trial and never shifts to a defendant. A defendant is never required to prove

that he is innocent.

        You may not attach any significance to the fact that the defendant did not testify. No

adverse inference against him may be drawn by you because he did not take the witness stand.

You may not consider this against the defendant in any way in your deliberations in the jury

room.




3
 This charge is adapted from the charge given by the Honorable Joseph F. Bianco in United States v.
Michael Belfiore, 15-CR-242 (S-2) (JFB), ECF Doc. No. 180, filed May 11, 2018.
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       15.    Uncalled Witnesses Equally Available (if applicable)

       There are several persons whose names you have heard during the course of the

trial but who did not appear here to testify, and one or more of the attorneys has referred to

their absence from the trial. I instruct you that each party had an equal opportunity or lack of

opportunity to call any of these witnesses. Therefore, you should not draw any inferences or

reach any conclusions as to what they would have testified to had they been called.

       You should, however, remember my instruction that the law does not impose on a

defendant in a criminal case the burden or duty of calling any witnesses or producing any evidence.

You should remember that the Government maintains the burden of proving its case at all times.




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       16.     Dates Approximate

       In alleging dates, the indictment frequently charges “on or about,” and “between” certain

dates. The proof need not establish with certainty the exact date of an alleged offense. The law

only requires the evidence establish beyond a reasonable doubt that the dates alleged in the

indictment and the date established by the testimony or exhibits are substantially similar.




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       17.     Acts and Statements of Co-Conspirators

       The government alleges that the defendant was a member of two conspiracies. Under the

law, the reasonably foreseeable acts and statements of one member of a conspiracy are treated as

the acts and statements of all other members of the conspiracy, if the acts and statements are

made during the existence of the conspiracy and in furtherance of the goals of the conspiracy. It

is the jury’s function to determine whether the evidence, including the co-conspirators’

statements, is credible and convincing. The burden of proving beyond a reasonable doubt that a

conspiracy existed and that the defendant was a member of that conspiracy remains with the

government.                                                                                          Commented [CM1]: 1 Modern Federal Jury Instructions‐
                                                                                                     Criminal P 19.01
       Therefore, if you find, beyond a reasonable doubt, that the defendant intentionally           Commented [EAF2R1]: We do not accept the other edits
                                                                                                     to this paragraph as they are redundant – the existing
joinedwas a member of a                                                                              language already sets out that they must find the defendant
                                                                                                     was a member of the conspiracy beyond a reasonable
                                                                                                     doubt, and that the acts and statements must be reasonably
conspiracy, you may consider against the defendant acts and statements of other members of that      forseeable

conspiracy if you also conclude the government has established beyond a reasonable doubt that

the relevant act or statement they wasere (a) reasonably foreseeable to the defendant, (b) made

during the existence of the conspiracy, and (c) made in furtherance of the goal of the conspiracy.

If those elements are established, yYou may consider suchthese acts and statements against the

defendant even if they were made in the defendant’s absence and without his knowledge.




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          18.     Stipulations of Fact (if applicable)4

          The attorneys for the United States and the attorneys for the defendant have entered into

stipulations concerning certain facts that are relevant to this case.

          A stipulation of fact is simply an agreement among the parties that a certain fact is true.

You should regard such agreed facts as true. However, what weight to give those facts is

entirely up to you. You are the sole judges of the facts and you decide what weight to give to

those facts.




4
    Adapted from Modern Federal Jury Instructions, Instruction 5.02.
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          19.     Stipulations of Testimony – (if applicable)5

          A stipulation of testimony is an agreement among the parties that, if called, a witness

would have given certain testimony. You must accept as true the fact that the witness would have

given that testimony in court. However, it is for you to determine the effect to be given that

testimony.




5
    Adapted from Modern Federal Jury Instructions, Instruction 5.02.

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           20.       Charts and Summaries (FRE 1006 Exhibits)6

           Certain charts and summaries offered by the government and the defendant were

admitted as evidence. You may use those charts and summaries as evidence, even though the

underlying documents and records have not been admitted into evidence. [However, the

accuracy/authenticity of those charts/summaries has been challenged (if applicable)]. You must

decide how much weight, if any, you will give to them. In making that decision, you should

consider the testimony or other evidence you heard about the way in which the charts and

summaries were prepared.




6
    Adapted from Third Circuit, Criminal Jury Instruction § 4.11; Eighth Circuit, Criminal Jury Instruction § 4.12.
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          21.     Judicial Notice7 (if applicable)

          I have taken judicial notice of certain facts that I believe are not subject to reasonable

dispute. I have accepted these facts to be true, even though no evidence has been introduced

proving them to be true. You may, but are not required to, agree that these facts are true.




7
    This proposed jury instruction was adapted from Modern Federal Jury Instructions, Instruction 5.02.

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          22.     Similar Acts – Intent, Knowledge, Absence of Mistake (if applicable) 8
          The government has offered evidence tending to show that on a different occasion the

defendant engaged in conduct similar to the charges in the indictment.

          In that connection, let me remind you that the defendant is not on trial for committing this

act not alleged in the indictment. Accordingly, you may not consider this evidence of the similar

act as a substitute for proof that the defendant committed the crime charged. Nor may you

consider this evidence as proof that the defendant has a criminal personality or bad character.

The evidence of the other, similar act was admitted for a much more limited purpose and you

may consider it only for that limited purpose.

          If you determine that the defendant committed the acts charged in the indictment and the

similar acts as well, then you may, but you need not draw an inference that in doing the acts

charged in the indictment, the defendant acted knowingly and intentionally and not because of

some mistake, accident or other innocent reasons.

          Evidence of similar acts may not be considered by you for any other purpose.

Specifically, you may not use this evidence to conclude that because the defendant committed

the other act he must also have committed the acts charged in the indictment.




8
    Adapted from Modern Federal Jury Instructions, Instruction 5.10.

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       23.     Evidence Regarding Defendant’s Lifestyle                                           Commented [EAF3]: Proposed instruction on
                                                                                                  wealth/lifestyle pursuant to the Court’s April 26th, 2023
       In this case, the government has presented evidence regarding the defendant’s lifestyle    Order, Docket 59, Section C. For the record, defense
                                                                                                  counsel notes their continuing objection to the admissibility
                                                                                                  of this type of evidence.
and personal spending. I instruct you that you should consider evidence regarding the

defendant’s lifestyle and personal spending only to the extent that you find it relevant to the

question of the defendant’s motive, plan, knowledge of the object of a scheme or intent to

commit the crimes charged in the indictment. You may not consider this evidence for any other

purpose.




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PART II: LEGAL ELEMENTS OF CHARGED CRIMES

       I will now turn to the second part of this charge - and I will, as I indicated at the outset,

instruct you as to the legal elements of the crimes charged in the indictment. That is to say, I will

now instruct you as to the specific elements of the crimes charged, each of which the government

must prove beyond a reasonable doubt to warrant a finding of guilt.

       Summary of the Indictment

       In order to place my instructions in context, I will start by giving you a summary of the

crimes charged. They are stated in the indictment. The indictment is not evidence; rather, it is

simply the instrument by which the charges are brought. It is an accusation. It may not be

considered by you as any evidence of the guilt of the defendants. To the contrary, the defendants

are presumed innocent until proven guilty beyond a reasonable doubt.

       After summarizing the charges, I will instruct you in detail as to the law for you to apply

to each charge in the indictment.

       And finally, I will tell you some further rules with respect to your deliberations.

       First, the summary of the indictment. The indictment contains eighteen counts, or

separate charges or offenses. They are numbered Counts One through Eighteen. You must

consider each count separately and return a verdict based only upon the evidence as it relates to

that specific count.

       The eighteen counts, in sum, charge the defendant, Patrice Runner, with conspiracy to

commit mail fraud and wire fraud, mail fraud, wire fraud, and conspiracy to commit money

laundering. I have summarized the counts in the indictment simply to give you an overview of

the charges. I will now explain to you the law that applies to each of the counts in the indictment.




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                     COUNTS TWO through THIRTEEN – Mail Fraud and
                   COUNTS FOURTEEN through SEVENTEEN – Wire Fraud9

        Because the conspiracy charged in Count One depends on the law concerning mail fraud

and wire fraud, I will begin with the mail fraud and wire fraud counts.

        Counts Two through Thirteen of the Indictment allege that Patrice Runner committed

mail fraud. The mail fraud statute is section 1341 of Title 18 of the United States Code. That

statute states:

                  Whoever, having devised or intending to devise any scheme or
                  artifice to defraud, or for obtaining money or property by means of
                  false or fraudulent pretenses, representations, or promises . . . for
                  the purpose of executing such scheme or artifice . . . , places in any
                  post office or authorized depository for mail matter, any matter or
                  thing whatever to be sent or delivered by the Postal Service, or
                  deposits or causes to be deposited any matter or thing whatever to
                  be sent or delivered by any private or commercial interstate carrier
                  . . . or knowingly causes to be delivered by mail or such carrier
                  according to the direction thereon . . . any such matter or thing,
                  shall be [guilty of a crime].




9
  This charge and the charges that follow, unless otherwise noted, are adapted from those given by the
Honorable Joan M. Azrack in United States v. Edward Weaver, 13-CR-120 (JMA), ECF Doc. No. 318,
filed Nov. 4, 2015. The charge is adapted from Sand et al., Modern Federal Jury Instructions, Instructions
44-2 through 44-6, except that references to the “willfullness” standard of intent have been removed in
order to conform to Second Circuit precedent. See United States v. Porcelli, 865 F.2d 1352, 1358 (2d Cir.
1989) (“The specific intent required under the mail fraud statute is the intent to defraud, and not the intent
to violate a statute.”) (internal citation omitted); United States v. Gole, No. 97-CR-28 (ERK), 1997 U.S.
Dist. LEXIS 22758, at *19 (E.D.N.Y. Sep. 24, 1997) (recognizing that Sand’s inclusion of “willfully”
language in mail fraud instruction is erroneous); United States v. Middendorf, No. 18-CR-36 (JPO), 2019
U.S. Dist. LEXIS 153287, at *24 (S.D.N.Y. Sep. 9, 2019) (“Sand’s willfulness instruction is at least
misleading and likely incorrect”).

Regarding gullible victims, see United States v. Thomas, 377 F.3d 232, 243 (2d Cir. 2004) (“We therefore
reject [defendant’s] argument that the foolishness of [victim’s] belief in [defendant’s] fraudulent scheme
somehow vitiates [defendant’s] fraudulent intent. We refuse to accept the notion that ‘the legality of a
defendant’s conduct would depend on his fortuitous choice of a gullible victim.’”) (quoting United States
v. Benson, 548 F.2d 42, 46 (2d Cir. 1977)).



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        Counts Two through Thirteen of the Indictment allege that, on or about the following

dates, within the Eastern District of New York, defendant Runner:

               together with others, did knowingly and intentionally devise a
               scheme and artifice to defraud, and to obtain money and property
               by means of materially false and fraudulent pretenses,
               representations and promises, and for the purpose of executing
               such scheme and artifice, did place and cause to be placed one or
               more matters and things in a post office and authorized depository
               for mail matter, to be sent and delivered by the United States
               Postal Service, and did deposit and cause to be deposited one or
               more matters and things to be sent and delivered by private and
               commercial interstate carrier, and did take and receive therefrom
               such matters and things.


        The chart below lists the specific mail fraud counts against each defendant.

Count                     Approximate Date                       Description
TWO                       December 2013                          Payment from Victim B.S., sent by private
                                                                 interstate carrier to caging service in Deer
                                                                 Park, New York
THREE                     January 2014                           Letter purporting to be from Psychic A,
                                                                 sent by United States mail to Victim I.W.
                                                                 in Farmingdale, New York
FOUR                      February 2014                          Payment from Victim J.D,, sent by private
                                                                 interstate carrier to caging service in Deer
                                                                 Park, New York
FIVE                      February 2014                          Payment from Victim W.G., sent by
                                                                 private interstate carrier to caging service
                                                                 in Deer Park, New York
SIX                       March 2014                             Payment from Victim B.C., sent by private
                                                                 interstate carrier to caging service in Deer
                                                                 Park, New York
SEVEN                     March 2014                             Letter purporting to be from Psychic A,
                                                                 sent by United States mail to Victim F.B.
                                                                 in Farmingdale, New York
EIGHT                     April 2014                             Letter purporting to be from Psychic B,
                                                                 sent by United States mail to Victim B.D.
                                                                 in Arverne, New York
NINE                      May 2014                               Payment from Victim K.A., sent by private
                                                                 interstate canier to caging service in Deer
                                                                 Park, New York


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TEN                       June 2014                                Payment from Victim M.Sm,, sent by
                                                                   private interstate carrier to caging service
                                                                   in Deer Park, New York
ELEVEN                    August 2014                              Payment from Victim M.So., sent by
                                                                   private interstate carrier to caging service
                                                                   in Deer Park, New York
TWELVE                    August 2014                              Payment from Victim S.W., sent by private
                                                                   interstate carrier to caging service in Deer
                                                                   Park, New York
THIRTEEN                  October 2014                             Letter purporting to be from Psychic A,
                                                                   sent by United States mail to Victim K.E.
                                                                   in Calverton, New York

       Counts Fourteen through Seventeen allege wire fraud. The wire fraud statute is section

1343 of Title 18 of the United States Code. That statute states:

       Whoever, having devised or intending to devise any scheme or artifice to defraud,
       or for obtaining money or property by means of false or fraudulent pretenses,
       representations, or promises, transmits or causes to be transmitted by means of
       wire radio or television communication in interstate or foreign commerce, any
       writings, signs, signals, pictures or sounds for the purpose of executing such
       scheme or artifice shall be [guilty of a crime].

       The wire fraud counts in the Indictment allege that, within the Eastern District of New

York and elsewhere, defendant Patrice Runner:

       together with others, did knowingly and intentionally devise a scheme and artifice
       to defraud and to obtain money and property by means of materially false and
       fraudulent pretenses, representations and promises, and for the purposes of
       executing such scheme and artifice did transmit and cause to be transmitted, by
       means of wire communication in interstate and foreign commerce, one or more
       writings, signs, signals, pictures and sounds.

       The chart below lists the specific wire fraud counts against each defendant.

 Count                            Approximate Date                   Description
 FOURTEEN                         April 14, 2014                     Wire transfer of $49,089.20 from
                                                                     payment processing company in Canada
                                                                     to caging service in Deer Park, New
                                                                     York
 FIFTEEN                          May 2, 2014                        Wire transfer of $31,473.99 from
                                                                     payment processing company in Canada

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                                                                    to caging service in Deer Park, New
                                                                    York
 SIXTEEN                           May 13, 2014                     Wire transfer of $41,027.86 from
                                                                    payment processing company in Canada
                                                                    to caging service in Deer Park, New
                                                                    York
 SEVENTEEN                         May 30, 2014                     Wire transfer of 533,344.66 from
                                                                    payment processing company in Canada
                                                                    to caging service in Deer Park, New
                                                                    York

       In order to sustain a mail or wire fraud charge for the defendant, the government must

prove each of the following three elements beyond a reasonable doubt, as specified in the

Indictment:

       First, there was a scheme or artifice to defraud or to obtain money or property by

materially false and fraudulent pretenses, representations or promises, as alleged in the

Indictment;

       Second, the defendant knowingly participated in the scheme or artifice to defraud, with

knowledge of its fraudulent nature and with specific intent to defraud; or that he knowingly and

intentionally aided and abetted others in the scheme; and                                              Commented [EAF4]: We do not accept – see comment on
                                                                                                       18 USC 2 instruction below
       Third, depending on which count you are considering, the defendant must have used the

United States Postal Service, or a private or commercial interstate carrier (for mail fraud), or the

interstate or foreign wires (for wire fraud) in execution of that scheme. For Counts Two through

Thirteen, the mail fraud counts, the defendant must have used or caused the use of the U.S.

Postal Service or a private or interstate commercial carrier. For Counts Fourteen through

Seventeen, the wire fraud counts, the defendant must have used or caused the use of interstate or

foreign wires.




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       a. First Element of Mail and Wire Fraud

       The first element that the government must prove beyond a reasonable doubt is that there

was a scheme or artifice to defraud victims of money or property by means of false or fraudulent

pretenses, representations or promises. “Fraud” is a general term which encompasses all the

various means that can be used to gain an advantagecheat over another by false representations,      Commented [EAF5]: We do not accept

suggestions or hiding of the truth, or deliberate disregard for the truth. Thus, a “scheme to

defraud” is any plan to deprive another of money or property by trick, deceit, deception or

swindle that is reasonably calculated to deceive persons of average prudence.

       The scheme to defraud in this case is alleged to have been carried out by making false

and fraudulent statements and representations. A statement is false if it was untrue when made

and known at the time to be untrue by the person making it or causing it to be made. A statement

is fraudulent if it was falsely made with the intention to deceive and cheat. Deceitful statements   Commented [EAF6]: We do not accept

of half-truths, the concealment of material facts, or the expression of an opinion not honestly

entertained may also constitute false or fraudulent statements under the statute. The failure to

disclose information may be fraudulent if the defendant you are considering made incomplete or

ambiguous statements, the defendant knew further disclosure was required to avoid being

misleading, and the defendant failed to make such disclosure with the intent to defraud.

       The deception need not be premised upon spoken or written words alone. The

arrangement of the words or the circumstances in which they are used may convey the false and

deceptive appearance. If there is deception, the manner in which it is accomplished is

immaterial.

       The false or fraudulent representation must relate to a material fact or matter. A material

fact is one which would reasonably be expected to be of concern to a reasonable and prudent


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person in relying upon the statement in making a decision, such as whether to send money in

response to a mailing.                                                                                  Commented [EAF7]: We do not agree

       This means that if you find a particular statement of fact to have been false, you must

determine whether that statement was one that a reasonable person might have considered

important in making his or her decision. The same principle applies to fraudulent half-truths or

omissions of material facts.

       A statement is material if the misinformation or omission would naturally tend to lead or

is capable of leading a reasonable person to change his conduct. The materiality of statement is

dependent upon whether the statement has a natural tendency to influence, or is capable of

influencing, the decision of the decisionmaker to which it was addressed. Moreover, fraud

requires more than deceit. A person can dissemble about many things, but a lie can support a

fraud conviction only if it is material, that is, if it would affect a reasonable person’s evaluation

of a proposal.                                                                                          Commented [JD8]: This is a direct quotation from the
                                                                                                        Court's opinion on the motion to dismiss.
       The misrepresentations and omissions which the government charges were made as part              Commented [EAF9R8]: We do not agree to add – this is
                                                                                                        redundant of the two prior paragraphs
of the scheme to defraud are set forth in paragraphs 5 through 10 of the Indictment. It is not

required that every misrepresentation and omission charged in the Indictment be proved. It is

sufficient if the prosecution proves beyond a reasonable doubt that one or more of the alleged

material misrepresentations were made in furtherance of the alleged scheme to defraud. Mere

puffery does not amount to a material misrepresentation. Puffery encompasses subjective claims

about products, which cannot be proven either true or false, including exaggerations or

overstatements that mention nothing specific, but rather amount to general claims of superiority

expressed in in broad, vague, and commendatory language that are considered to be offered and

understood as an expression of the seller’s opinion only. Another form of puffery involves


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Puffery is an exaggerated, blustering, and boastful statements that are objective—and therefore

technically provable—but upon which no reasonable buyer would be justified in relying.             Commented [JD10]: This is an almost direct quotation
                                                                                                   from Judge Sack's recent summary of the law of puffery in
                                                                                                   the Second Circuit in Internat'l Code Council, Inc. v. UpCodes
       In addition to proving that a statement was false or fraudulent and related to a material
                                                                                                   Inc., 43 F.4th 46, 59‐60 (2d Cir. 2022).

fact, in order to establish a scheme to defraud, the government must prove that the alleged        Commented [EAF11R10]: Do not agree


scheme contemplated depriving another of money or property.

       However, the government is not required to prove that the defendant himself originated

the scheme to defraud. Furthermore, it is not necessary that the government prove that that

defendant actually realized any gain from the scheme or that anyone actually suffered any loss.

In this case, the government does contend that the recipients were defrauded and that the

defendant profited. Although whether or not the scheme actually succeeded is really not the

question, you may consider whether it succeeded in determining whether the scheme existed.

Also, a scheme to defraud need not be shown by direct evidence, but may be established by all of

the circumstances and facts in the case.

       Finally, not all acts of wrongdoing or dishonorable practices are schemes to defraud. You

may not find the defendant’s conduct constitutes a scheme to defraud merely because you

conclude the conduct was improper, objectionable, or even despicable.                              Commented [JD12]: This is adapted from United States v.
                                                                                                   Connolly, 24 F.4th 821, 834 (2d Cir. 2022).
If you find that the government has sustained its burden of proof beyond a reasonable doubt that   Commented [EAF13R12]: Do not accept – the
                                                                                                   instructions as written give the law on what constitutes a
a scheme to defraud, as charged, did exist, you next should consider the second element.           scheme to defraud, and it’s not necessary or helpful to state
                                                                                                   generally that other conduct is not a scheme to defraud

       b. Second Element of Mail and Wire Fraud                                                    Commented [EAF14]: Do not accept – unnecessary
                                                                                                   repetition

       The second element that the government must prove beyond a reasonable doubt is that

the defendant participated in the scheme to defraud knowingly, and with specific intent to

defraud.




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       “Knowingly” means to act voluntarily and deliberately, rather than mistakenly or

inadvertently. “Intent to defraud” means to act knowingly and with the specific intent to deceive,

for the purpose of causing some financial or property loss to another. The government must show

beyond a reasonable doubt “that some actual harm or injury was contemplated by” the defendant,

not just that the defendant intended to deceive the victim. Moreover, To establish fraudulent            Commented [JD15]: Sand, Instruction 44‐4; United States
                                                                                                         v. Rivernider, 828 F.3d 91 (2d Cir. 2016) (“A conviction for
                                                                                                         wire fraud requires that the defendant possess ‘fraudulent
intent, the government must demonstrate some harm contemplated to the victim of the fraud that
                                                                                                         intent,’ which in turns requires proof that the ‘defendant [ ]
                                                                                                         contemplate[ ] some actual harm or injury to the[ ]
goes to the nature of the bargain itself. A defendant’s use of false representations that do not go to   victims.’”) (quoting United States v. Novak, 443 F.3d 150,
                                                                                                         156 (2d Cir. 2006)).
the quality, adequacy, or price of goods does not constitute fraud.                                      Commented [EAF16R15]: We do not agree – this is
                                                                                                         captured in the proceeding sentence – intent to deceive for
                                                                                                         the purpose of causing some financial or property loss to
       Whether a person acted knowingly, and with intent to defraud is a question for you to             another
                                                                                                         Commented [JD17]: United States v. Burke, 445 F. App’x
determine. This question involves one’s state of mind. Direct proof of knowledge and fraudulent          395, 396‐97 (2d Cir. 2011) (“To establish fraudulent intent,
                                                                                                         the government must demonstrate some harm
intent is almost never available. And, such direct proof is not required. The ultimate facts of          contemplated to the victim of the fraud that goes to the
                                                                                                         nature of the bargain itself.”); id. at 397 (language about
                                                                                                         quality, adequacy, and price)
knowledge and criminal intent, though subjective, may be established by circumstantial
                                                                                                         Commented [EAF18R17]: We do not agree to add
evidence, including a person’s outward manifestations, his words, his conduct, his acts and all

the surrounding circumstances disclosed by the evidence and the rational or logical inferences

that may be drawn from them. Circumstantial evidence, if believed, is of no less value than direct

evidence. In either case, the essential elements of the crime must be established beyond a

reasonable doubt.

        Since an essential element of the crime charged is intent to defraud, it follows that good

faith on the part of the defendant is a complete defense to a charge of mail and wire fraud. A

defendant, however, has no burden to establish a defense of good faith. The burden is on the

government to prove fraudulent intent and the consequent lack of good faith beyond a reasonable

doubt. Under the mail and wire fraud statutes, even false statements, or omissions of material

facts, do not amount to a fraud unless done with fraudulent intent. However misleading or

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deceptive a plan may be, it is not fraudulent if it was devised or carried out in good faith. A

defendant’s honest belief in the truth of the representations made by a defendant is a good

defense, however inaccurate the statements may turn out to be. An honest belief that all material

information has been properly disclosed is a complete defense to fraud.                                  Commented [EAF19]: Do not accept – redundant and
                                                                                                         confusing
        Also, if you find that a fraudulent scheme existed, it is not a defense that the customer fell

prey to the fraudulent scheme because he or she failed to act vigilantly. The crucial question is        Commented [EAF20]: Do not agree with edits to this
                                                                                                         paragraph
whether the government has proven beyond a reasonable doubt that the defendant was involved

in a scheme to defraud where he made material false statements or failed to disclose material

information—and did so in order towith the specific intent to harm victims. Whether or not a

particular victim acted foolishlyfailed to act vigilantly is irrelevant.

        However, you must find beyond a reasonable doubt that the defendant believed that the

allegedly false statement or omission would be material to a reasonably prudent person. If the

defendant made statements that he believed were immaterial or irrelevant – even if he knew them

to be false – then that belief would negate the requisite intent to deprive the victim of property by

making materially false statements.                                                                      Commented [JD21]: Sand, Instruction 44‐4; United States
                                                                                                         v. Rossomando, 144 F.3d 197, 198‐203 (2d Cir. 1998).
        As a practical matter, then, in order to sustain the charges against the defendant on this       Commented [EAF22R21]: Do not accept – materiality
                                                                                                         has already been explained, and this is redundant and
element, the government must establish beyond a reasonable doubt that he knew that his conduct           confusing


as a participant in the scheme was calculated to deceive and, nonetheless, he intentionally

associated himself with the alleged fraudulent scheme for the purpose of causing some loss to

another.

        However, an intent to harm a party to a transaction cannot be found where the

government’s evidence merely indicates that the services contracted for were dishonestly

completed. Nor does the government establish an intent to harm the buyer if the seller’s deceit

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did not go to an essential element of the bargain. Nor does the government establish an intent to

harm if the buyers received the benefit of their bargain. In other words, even if you conclude

that the government has proven beyond a reasonable doubt that customers were deceived, that is

not sufficient to find an intent to defraud. If, for example, you are persuaded beyond a reasonable

doubt that the customers were deceived, but you nonetheless conclude that the customers

received the benefit of their bargain, then the government has failed to sustain its burden of proof

on this element. Similarly, the government does not establish an intent to defraud merely by

showing that the defendant caused customers to enter into transactions they would otherwise

avoid. For example, giving a false reason for being able to offer the bargain does not constitute

an intent to defraud, because it does not attempt to deceive the prospective customer with respect

to the bargain that is being offered. Furthermore, the government does not establish an intent to

defraud if the customers received something of equal value in exchange for their money that met

their reasonable expectations.                                                                         Commented [JD23]: This is all language lifted from the
                                                                                                       Court's opinion on the motion to dismiss
       In other words, A schemer who tricks someone to enter into a transaction has not                Commented [EAF24R23]: The government does not
                                                                                                       agree that this addition is necessary on top of the standard
“schemed to defraud” so long as he does not intend to harm the person he intends to trick. And this    instructions on intent to defraud and materiality


is so even if the transaction would not have occurred but for the trick.                               Commented [JD25]: nited States v. Starr, 816 F.2d 94, 98
                                                                                                       (2d Cir. 1987); see United States v. Takhalov, 2016 WL
                                                                                                       3683456, at *3 (11th Cir. July 11, 2016) (“A schemer who
                                                                                                       tricks someone to enter into a transaction has not
                                                                                                       “schemed to defraud” so long as he does not intend to harm
       To conclude on the second element, if you find that the defendant was not a knowing             the person he intends to trick. And this is so even if the
                                                                                                       transaction would not have occurred but for the trick.”);
participant in the scheme or that he lacked the specific intent to defraud, you should find the        Commented [EAF26R25]: Do not agree

defendant not guilty. On the other hand, if you find that the government has established beyond a

reasonable doubt not only the first element—the existence of the scheme to defraud—but also

this second element—that the defendant was a knowing participant and acted with specific intent




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to defraud—then you should consider the third element of the mail and wire fraud counts, which

I am going to explain to you now.

        c. Third Element of Mail and Wire Fraud

        For the mail fraud counts, Counts Two through Thirteen, the third and final element that

the government must establish beyond a reasonable doubt is the use of the mails in furtherance of

the scheme to defraud. The use of the mails as I have used it here includes material sent either

through the United States Postal Service or a private or commercial interstate carrier.10 The

material sent need not contain a fraudulent representation or request for money. It must,

however, further or assist in the carrying out of the scheme to defraud in some way. It is not

necessary for the defendant to be directly or personally involved in the sending of the material,

as long as the sending of the material was reasonably foreseeable in the execution of the alleged

scheme to defraud in which the defendant is accused of participating.

        With respect to the use of the mails, the government must establish beyond a reasonable

doubt the particular mailing charged in the indictment. However, the government does not have

to prove that the mailings were made on the exact date charged in the indictment. It is sufficient

if the evidence establishes beyond a reasonable doubt that the mailing was made on a date

substantially similar to the date charged in the indictment.

        For the wire fraud counts, Fourteen through Seventeen, the third and final element that

the government must establish beyond a reasonable doubt is the use of an interstate or foreign

wire communication in furtherance of the scheme to defraud. The wire communication must pass

between two or more states or across a border with a foreign country. For example, a telephone



10
   This sentence is adapted from Modern Federal Jury Instructions, Instruction 44.01. See also the mail
fraud jury charge given by the Honorable Katherine B. Forrest in United States v. Wedd, 1:15-CR-616
(AT), ECF Doc. No. 347-7, filed May 4, 2017 (same).
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call between New York and Florida would qualify. A wire communication also includes a wire

transfer of funds between banks in different states or between a bank in the United States and a

bank in a foreign country.

       The use of the wires need not itself be a fraudulent representation. It must, however,

further or assist in the carrying out of the scheme to defraud. It is not necessary for the defendant

to be directly or personally involved in the wire communication, as long as the communication

was reasonably foreseeable in the execution of the alleged scheme to defraud in which the

defendant is accused of participating. This element is satisfied if the defendant you are

considering caused the wires to be used by others. This does not mean that the defendant must

specifically have authorized others to make the call or transfer of funds. When one does an act

with knowledge that the use of the wires will follow in the ordinary course of business, then he

causes the wires to be used. The government contends that it was reasonably foreseeable that the

wires would be used in the ordinary course of the defendant’s business, and therefore that the

defendant caused the use of the wires.

       With respect to the use of the wires, the government must establish beyond a reasonable

doubt the particular wire transmissions charged in the indictment. However, the government does

not have to prove that the wires were used on the exact date charged in the Indictment. It is

sufficient if the evidence establishes beyond a reasonable doubt that the wires were used on a

date substantially similar to the dates charged in the indictment.




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                     COUNT ONE – Conspiracy to Commit Mail Fraud11

        Count One of the Indictment charges the defendant with Conspiracy to Commit Mail

Fraud and Wire Fraud, and reads as follows:

               In or about and between January 1994 and November 2014, both
               dates being approximate and inclusive, within the Eastern District
               of New York and elsewhere, the defendant PATRICE RUNNER,
               together with others, did knowingly and intentionally conspire to
               devise a scheme and artifice to defraud the Victims, and to obtain
               money and property from the Victims by means of materially false
               and fraudulent pretenses, representations and promises, and for the
               purpose of executing such scheme and artifice, to (a) place and
               cause to be placed one or more matters and things in a post office
               and authorized depository for mail matter, to be sent and delivered
               by the United States Postal Service, and to deposit and cause to be
               deposited one or more matters and things to be sent and delivered
               by private and commercial interstate carrier, and to take and
               receive therefrom one or more such matters and things, contrary to
               Title 18, United States Code, Section 1341, and (b) transmit and
               cause to be transmitted, by means of wire communication in
               interstate or foreign commerce, writings, signs, signals, pictures
               and sounds, contrary to Title 18, United States Code, Section 1343.

                                 Conspiracy is a Separate Crime

         The relevant statute on this subject is 18 U.S.C. § 1349. Itprovides:

                 Any person who ... conspires to commit any offense under this
                 chapter shall be subject to the same penalties as those prescribed for
                 the offense, the commission of which was the object of the ...
                 conspiracy.


        A conspiracy is a kind of criminal partnership, an agreement or understanding by two or

 more persons to violate another law. A conspiracy to commit a crime is an entirely separate and

 different offense from the underlying crime a conspirator is charged with agreeing to commit.

 That is because the existence of a conspiracy, or partnership for criminal purposes, is in and of


11
  This charge is adapted from the charge given by the Honorable Denis R. Hurley in United States v.
Shawn McFadden, 13-CR-284 (S-1) (DRH), ECF Doc. No. 242, filed Feb. 18, 2015.

                                                  45
      Case 2:18-cr-00578-JS Document 83 Filed 05/23/23 Page 47 of 76 PageID #: 489




 itself a crime. The essence of the crime of conspiracy is the agreement or understanding

 among two or more persons that they will act together to violate the law.

       Congress deemed it appropriate to make a conspiracy a separate crime even if the

 conspiracy did not succeed. Thus, if a conspiracy exists, even if it should fail to achieve its

 purpose, it is still punishable as a crime. Consequently, for a defendant to be guilty of

 conspiracy,there is no need for the government to prove that he or any other conspirator actually

 succeeded in their criminal goals.



           Conspiracy to Commit Mail and Wire Fraud: Elements of the Offense

       In order to prove the crime of conspiracy to commit mail fraud and wire fraud, the

government must establish the following three elements of the crime beyond a reasonable doubt:

       First, that two or more persons entered into the particular unlawful agreement charged

 in the indictment;

       Second, that the objective of the conspiracy was to commit the crime of mail fraud or

 wire fraud; and

       Third, that the defendant knowingly and intentionally became a member of the

 conspiracy.

       Let me discuss these three elements in more detail with you.




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1. First Element: Existence of the Agreement


      First, the government must prove beyond a reasonable doubt that two or more persons

entered into the unlawful agreement charged in the indictment. In other words, one cannot

commit the crime of conspiracy alone. Rather, the proof must convince you that at least two

persons joined together in a common criminal scheme.

       Now, the government need not prove that members of the conspiracy met together or

entered into any express or formal agreement. You need not find that the alleged conspirators

stated, in words or writing, what the scheme was, its object or purpose, or the means by which

it was to be accomplished. It is sufficient to show that the conspirators implicitly came to a

mutual understanding to accomplish the unlawful objective charged in the indictment by means

of a joint plan or common design.

       You may, of course, find that the existence of an agreement between two or more persons

to engage in criminal conduct has been established by direct proof. But since a conspiracy is, by

its very nature, often characterized by secrecy, direct proof may not be available. You may,

therefore, infer the existence of a conspiracy from the circumstances of this case and the conduct

of the parties involved. You may, in determining whether an agreement existed here, consider

the actions and statements of those you find to be conspirators as proof that a common design

existed to act together for the accomplishment of the unlawful purpose alleged in the indictment.




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      2. Second Element: Unlawful Acts


      The second element that the government must prove beyond a reasonable doubt is that

the objective of the conspiracy was to commit the specific unlawful act charged in the indictment

– i.e., mail fraud and wire fraud. I have previously defined the legal elements of mail fraud and

wire fraud for you in connection with Counts Two through Seventeen, and those instructions

apply here as well. Hence, you must find that there was agreement to commit mail fraud as I

have defined that offense for you.




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               3. Third Element: Membership in the Conspiracy


      If you find that a conspiracy existed, and that the objective of such conspiracy was the

commission of mail fraud or wire fraud as charged in the indictment, the third element the

government must prove beyond a reasonable doubt is that the defendant you are considering

knowingly and intentionally became a member of the charged conspiracy. A person acts

knowingly if he acts intentionally and voluntarily, and not because of ignorance, mistake,

accident, or carelessness. Whether the defendant acted knowingly may be proven by the

defendant’s conduct and by all of the facts and circumstances surrounding the case. A person

acts intentionally if he acted deliberately and purposefully. That is, the defendant’s acts must

have been the product of the defendant’s conscious objective rather than the product of a mistake

or accident.

      If you are satisfied that the conspiracy charged in the indictment existed, you must ask

yourselves who the members of that conspiracy were. In deciding whether the defendant was a

member of the conspiracy, you should consider whether the government has proved beyond a            Commented [EAF27]: Do not accept – redundant of the
                                                                                                    first paragraph
reasonable doubt that he knowingly and intentionally joined the conspiracy. Did the defendant

participate in it with knowledge of its unlawful purpose and with the intention of furthering the

objectives with which he is charged?

      In order for the defendant to be deemed a participant in a conspiracy, he must have had a

stake in the venture or its outcome. You are instructed that, while proof of a financial interest

in the outcome of a scheme is not essential, if you find that the defendant had such an interest,

that is a factor which you may consider in determining whether or not the defendant was a

member of the conspiracy charged in the indictment.

      Before the defendant can be found to have been a conspirator, you must find that he

knowingly joined in the unlawful agreement or plan. The key question, therefore, is whether the

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defendant joined the conspiracy with an awareness of the aims and purposes of the unlawful

agreement.

      If you find that the defendant knowingly and intentionally joined a criminal conspiracy,

the extent of the defendant’s participation in that conspiracy has no bearing on the issue of guilt.

Each member of a conspiracy may perform separate and distinct acts and may perform them at

different times. Some conspirators may play major roles, while others play minor parts in the

scheme. A conspirator need not have been fully informed as to all of the details or the scope of

the conspiracy. He need not have been a member of the conspiracy for the entire time of its

existence.

      However, I want to stress that merely being present at a place where criminal conduct is

underway does not make a person a member of a conspiracy to commit the crime. This is true

even if the person knows that a crime is being committed. Mere innocent association, as for

social and business purposes, or physical contact with conspirators, does not make a person a

co-conspirator. Similarly, the fact that a person, without any knowledge that a crime is being

committed, merely happens to act in a way that furthers the purposes or objectives of the

conspiracy does not make that person a member. More is required under the law.




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             COUNT EIGHTEEN – Conspiracy to Commit Money Laundering

       The defendant is charged in Count Eighteen with conspiracy to commit money

laundering. The Indictment reads:

              In or about and between January 1994 and November 2014, both
              dates being approximate and inclusive, within the Eastern District
              of New York and elsewhere, the defendant PATRICE RUNNER,
              together with others, did knowingly and intentionally conspire to:
              (a) transport, transmit and transfer funds from one or more places
              in the United States to and through one or more places outside the
              United States and to one or more places in the United States from
              and through one or more places outside the United States (i) with
              the intent to promote the carrying on of one or more specified
              unlawful activity, to wit: mail fraud, in violation of Title 18,
              United States Code, Section 1341, and wire fraud, in violation of
              Title 18, United States Code, Section 1343, and (ii) knowing that
              the funds involved in the transportation, transmission and transfer
              would represent the proceeds of some form of unlawful activity
              and knowing that such transportation, transmission and transfer
              would be designed in whole and in part to conceal and disguise the
              nature, the location, the source, the ownership and the control of
              the proceeds of specified unlawful activity, contrary to Title 18,
              United States Code, Sections 1956(a)(2)(A) and 1956(a)(2)(B)(i);
              and (b) engage and attempt to engage in monetary transactions in
              and affecting interstate and foreign commerce, including deposits,
              withdrawals and transfers of funds and monetary instruments, in
              criminally derived property that was of a value greater than
              $10,000 and that was derived from one or more specified unlawful
              activity, to wit: mail fraud, in violation of Title 18, United States
              Code, Section 1341, and wire fraud, in violation of Title 18, United
              States Code, Section 1343, contrary to Title 18, United States
              Code, Section 1957.
       The relevant statute on this subject is 18 U.S.C. § 1956(h). It provides: “Any person who

conspires to commit any [money laundering offense] shall be subject to the same penalties as

those prescribed for the offense the commission of which was the object of the conspiracy.”




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                    The Elements of Conspiracy to Commit Money Laundering
       In order to satisfy its burden of proof, the government must establish each of the

following two essential elements beyond a reasonable doubt:

       First, that two or more persons entered the unlawful money laundering agreement

charged in the indictment from in or about January 1994 to in or about November 2014;


       Second, that the defendant knowingly and intentionally became a member of the

conspiracy.

       I have previously explained those elements in explaining the charge of conspiracy to

commit mail fraud and wire fraud. The same explanations apply to this conspiracy except that

the crimes that the defendant is charged with conspiring to commit in Count Eighteen are money

laundering offenses. I again remind you that the government need not prove that the defendant

actually committed the offenses charged as the objects of the conspiracy in Count Eighteen.

Rather, what the government must prove beyond a reasonable doubt is that the purpose of the

conspiracy was to commit one or more of those money laundering offenses, and that the

defendant knowingly and intentionally joined that conspiracy. I will now explain the elements of

those offenses.




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        Conspiracy To Commit Money Laundering – Transportation of Funds or Monetary
                       Instruments to Promote Unlawful Activity12
       As described in the Indictment, the charge of conspiracy to commit money laundering

alleges that there were three objects of the conspiracy. The first crime that is alleged to be an

object of the conspiracy to commit money laundering is the substantive offense of transporting

funds or monetary instruments to or from the United States with the intent to promote unlawful

activity in violation of Title 18, United States Code, section 1956(a)(2)(A).

       Specifically, section 1956(a)(2)(A) provides:

               Whoever transports, transmits, or transfers, or attempts to
               transport, transmit, or transfer a monetary instrument or funds from
               a place in the United States to or through a place outside the
               United States or to a place in the United States from or though a
               place outside the United States-
               (A) with the intent to promote the carrying out of specified
               unlawful activity
               [is guilty of a crime].
                                     Elements of the Offense

       In order to prove the crime of unlawful transportation of funds or monetary instruments

with the intent to promote the carrying on of specified unlawful activity in violation of section

1956(a)(2)(A), the government must establish beyond a reasonable doubt each of the following

elements:




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  Adapted from Sand et al., Modern Federal Jury Instructions, Instructions 50A-11 through 50A-
14.
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       First, that the defendant transported (or attempted to transport) a monetary instrument or

funds from a place in the United States to or through a place outside the United States (or to a

place in the United States from or through a place outside the United States).

       Second, that the defendant did so with the intent to promote the carrying on of specified

unlawful activity.

       I will now explain those elements further.

First Element – Transportation of a Monetary Instrument or Funds to or from the United States
       The first element of the money laundering offense that is the first object of the conspiracy

is that the defendant transported a monetary instrument or funds from a place in the United States

to or through a place outside the United States or to a place in the United States from or through

a place outside the United States.

       The term “monetary instrument” means coin or currency of the United States or of any

other country, travelers’ checks, personal checks, bank checks, money orders, investment

securities in bearer form or otherwise in such form that title thereto passes upon delivery, and

negotiable instruments in bearer form or otherwise in such form that title thereto passes upon

delivery.

       The term “funds” refers to money or negotiable paper that can be converted into

currency.

       “Transportation” is not a word that requires a definition; it is a word that has its ordinary,

everyday meaning. The government need not prove that the defendant physically carried the

funds or monetary instrument in order to prove that he is responsible for transporting it. All that

is required is proof that the defendant caused the funds or monetary instrument to be transported.

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       To satisfy this element, the government must also prove that the funds or monetary

instruments were transported from somewhere in the United States to or through someplace

outside the United States or to someplace in the United States from or through someplace outside

the United States.

Second Element—Intent to Promote Unlawful Activity

       The second element of the money laundering offense that is the first object of the

conspiracy is that the defendant acted with intent to promote the carrying on of specified

unlawful activity, namely mail fraud.

       To act intentionally means to act deliberately and purposefully, not by mistake or

accident, with the purpose of promoting, facilitating or assisting the carrying on of mail fraud. If

you find that the defendant acted with the intention or deliberate purpose of promoting,

facilitating, or assisting in the carrying on of mail fraud, then the second element is satisfied.




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             Conspiracy To Commit Money Laundering – Transportation of Monetary
                  Instruments or Funds to Conceal Origin of Property13
       The second crime that is alleged in the Indictment to be an object of the conspiracy to

commit money laundering is the substantive offense of transportation of funds or monetary

instruments to conceal the origin of property.

       Title 18, United States Code, section 1956(a)(2)(B) provides:

               Whoever transports, transmits, or transfers, or attempts to
               transport, transmit, or transfer a monetary instrument or funds from
               a place in the United States to or through a place outside the
               United States or to a place in the United States from or through a
               place outside the United States-
               (B) knowing that the monetary instrument or funds involved in the
               transportation, transmission, or transfer represent the proceeds of
               some form of unlawful activity and knowing that such
               transportation is designed in whole or in part—
               (i) to conceal or disguise the nature, the location, the source, the
               ownership, or the control of the proceeds of specified unlawful
               activity;…
               [is guilty of a crime].
                             Elements of the Offense
       This offense has three elements:

       First, that the defendant transported a monetary instrument or funds from a place in the

United States to or through a place outside the United States or to a place in the United States

from or through a place outside the United States.




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13
  Adapted from Sand et al., Modern Federal Jury Instructions, Instructions 50A-15 through 50A-
19.
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       Second, that the defendant did so with knowledge that the monetary instrument or funds

involved represent the proceeds of some form of unlawful activity.

       Third, that the defendant did so with knowledge that the transportation was designed in

whole or in part to conceal or disguise the nature, location, source, ownership or control of the

proceeds of money laundering.

       The first two element is the same as the first element of transportation of funds or

monetary instruments to promote unlawful activity. I will now explain the second and third

elements further.

Second Element—Knowledge That Property Involved Was the Proceeds of Unlawful Activity

       The second element that the government must prove beyond a reasonable doubt is that

the defendant knew that the property involved in the financial transaction was the proceeds of

some form of unlawful activity.

       I instruct that this element refers to a requirement that the defendant knew the property

involved in the transaction represented the proceeds from some form, though not necessarily

which form, of activity that constitutes a felony under state or federal law. I instruct you as a

matter of law that mail fraud is a felony. The term “proceeds” means any property derived from

or obtained or retained, directly or indirectly, through some form of unlawful activity, including

the gross receipts of such activity. Without the existence of these types of proceeds there can be

no conspiracy to launder money and you must acquit the Defendant.                                    Commented [EAF28]: Do not accept – the instruction is
                                                                                                     clear without this addition

Third Element—Knowledge of the Unlawful Purpose of the Transportation
       The third element that the government must prove beyond a reasonable doubt is that the

defendant transported the property involved in the transaction with knowledge that the
                                                 57
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transportation was designed to conceal or disguise the nature, location, source, ownership, or

control of the proceeds of mail fraud.

       Proof only that the funds were concealed is not sufficient to satisfy this element. Instead,

the government must prove that the purpose of the transportation was to conceal or disguise the

nature, location, source, ownership, or control of the proceeds and that the defendant knew that

this was the purpose of the transportation.




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            Conspiracy To Commit Money Laundering – Criminally Derived Property14
       The third crime that is alleged to be an object of the conspiracy to commit money

laundering is the substantive offense of engaging in monetary transactions in property derived

from specified unlawful activity, in violation of Title 18, United States Code, section 1957.

       Section 1957 of Title 18, United States Code, makes it a crime to knowingly engage or

attempt to engage in a monetary transaction in criminally derived property of a value greater than

$10,000. Specifically, section 1957 provides:

               Whoever … knowingly engages or attempts to engage in a
               monetary transaction in criminally derived property that is of a
               value greater than $10,000 and is derived from specified unlawful
               activity [and does so] in the United States [commits a crime].
                             Elements of the Offense
       In order to prove the crime of engaging in monetary transactions in property derived

from specified unlawful activity in violation of section 1957, the government must establish

beyond a reasonable doubt each of the following elements:



       First, that the defendant engaged in a monetary transaction in or affecting interstate

commerce.



       Second, that the monetary transaction involved criminally derived property of a value

greater than $10,000.




                                             59
14
  Adapted from Sand et al., Modern Federal Jury Instructions, Instructions 50A-26 through 50A-
31.
       Case 2:18-cr-00578-JS Document 83 Filed 05/23/23 Page 61 of 76 PageID #: 503




        Third, that the property was derived from specified unlawful activity.



        Fourth, that the defendant acted knowingly, that is, with knowledge that the transaction

involved proceeds of a criminal offense.



        Fifth, that the transaction took place in the United States.


First Element—Engaging in a Monetary Transaction

        The first element that the government must prove beyond a reasonable doubt is that the

defendant engaged in a monetary transaction in or affecting interstate commerce.

        The term “monetary transaction” means the deposit, withdrawal, transfer, or exchange, in

or affecting interstate or foreign commerce, of funds or a monetary instrument by, through, or to

a financial institution.

        The term “interstate or foreign commerce” means commerce between any combination

of states, territories or possessions of the United States, or between the United States and a

foreign country.

        You must find that the transaction affected interstate commerce in some way, however

minimal. This effect on interstate commerce can be established in several ways. First, any

monetary transaction with a financial institution insured by the FDIC affects interstate

commerce, so if you find that Bank was insured by the FDIC that is enough to establish that the

transaction affected interstate commerce. Second, if you find that the source of the funds used in

the transaction affected interstate commerce, that is sufficient as well. Third, if you find that the

transaction itself involved an interstate transfer of funds, that would also be sufficient.



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Second Element—Transaction Involved Criminally Derived Property

       The second element that the government must prove beyond a reasonable doubt is that

the monetary transaction involved criminally derived property having a value in excess of

$10,000.

       The term “criminally derived property” means any property constituting, or derived

from, proceeds obtained from a criminal offense. The term “proceeds” means any property

derived from or obtained or retained, directly or indirectly, through some form of unlawful

activity, including the gross receipts of such activity.

       The government is not required to prove that all of the property involved in the

transaction was criminally derived property. However, the government must prove that more

than $10,000 of the property involved was criminally derived property.


Third Element—Property Derived From Specified Unlawful Activity

       The third element that the government must prove beyond a reasonable doubt is that the

defendant knew that the property involved in the financial transaction was the proceeds of some

form of unlawful activity. Without the existence of these types of proceeds there can be no

conspiracy to launder money and you must acquit the Defendant.                                          Commented [EAF29]: Do not accept ‐ the instruction is
                                                                                                        clear without this addition



       I instruct that this element refers to a requirement that the defendant knew the property

involved in the transaction represented proceeds from some form, though not necessarily which

form, of activity that constitutes a criminal offense under state or federal law. I instruct you as a

matter of law that mail fraud is a criminal offense under federal law.


Fourth Element—Knowledge


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       The fourth element that the government must prove beyond a reasonable doubt is that the

defendant knowingly engaged in an unlawful monetary transaction, as defined above.

I instruct you that in a prosecution for an offense under this section, the government is not

required to prove that the defendant knew the particular offense from which the criminally

derived property was derived. However, the government must prove beyond a reasonable doubt

that the defendant knew that the transaction involved criminally derived property, which, I

remind you, means any property constituting, or derived from, proceeds obtained from a

criminal offense.

       If you find that the government has established, beyond a reasonable doubt, that the

defendant knew that the transaction involved property derived from a criminal offense, then this

element is satisfied.


Fifth Element—Transaction Took Place in the United States

       The fifth element that the government must prove beyond a reasonable doubt is that the

transaction took place in the United States.




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                Aiding and Abetting (COUNTS TWO through SEVENTEEN)15                                 Commented [JD30]: If the evidence presented at trial
                                                                                                     does not warrant this instruction, defense counsel will seek
                                                                                                     to delete this instruction at the time of the charge
       Counts Two through Seventeen of the Indictment also charge a violation of section 2 of
                                                                                                     conference

Title 18 of the United States Code, which provides that: “Whoever commits an offense against

the United States, or aids, abets, counsels, commands, induces or procures its commission, is

punishable as a principal.” This means that even if a defendant did not personally commit a

crime, he can still be held criminally responsible for a crime if he intentionally helped,

encouraged, or commanded someone else to commit that crime.

       To find the defendant guilty as an aider and abettor, you must be convinced that the

government has proved the following two elements beyond a reasonable doubt:

       First: someone else committed the charged crime, and

       Second: the defendant intentionally associated himself in some way with the crime and

intentionally participated in it as he would in something he wished to bring about. This means

that the government must prove that the defendant consciously shared the other person’s

knowledge of the underlying criminal act and either acted or failed to act with the intent to help

the other person commit the underlying criminal act. The defendant need not perform the

underlying criminal act, be present when it is performed, or be aware of the details of its

commission to be guilty of aiding and abetting. But a general suspicion that an unlawful act may

occur or that something criminal is happening is not enough. Mere presence at the scene of a

crime and knowledge that a crime is being committed are also not sufficient to establish aiding

and abetting.

       To determine whether a defendant aided or abetted the commission of the crime with

which he is charged, ask yourself these questions:

                                                 63
 This charge is adapted from the charge given by the Honorable Joan M. Azrack in United States v.
15

Edward Weaver, 13-CR-120 (JMA), ECF Doc. No. 318, filed Nov. 4, 2015.
      Case 2:18-cr-00578-JS Document 83 Filed 05/23/23 Page 65 of 76 PageID #: 507




       Did he participate in the crime charged as something he wished to bring about?

       Did he knowingly associate himself with the criminal venture?

       Did he seek by his actions to make the criminal venture succeed?

If he did, then the defendant is an aider and abettor, and therefore guilty of the offense.

       If, on the other hand, your answer to any one of these questions is “no,” then that

defendant is not an aider and abettor, and he is not responsible for the acts of another.




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                Liability for Acts of Co-Conspirators (Pinkerton Instruction)16
       I already explained to you how the defendant can be liable for aiding and abetting a

crime. There is also another method by which you may evaluate the possible guilt of the

defendant for the mail fraud and wire fraud counts, even if you do not find that the government

has satisfied its burden of proof with respect to each element of those crimes. Again, Counts Two

through Thirteen allege mail fraud and Counts Fourteen through Seventeen allege wire fraud.

       If, in light of my instructions, you find, beyond a reasonable doubt, that the defendant is

guilty of the conspiracy charged in Count One, then you may also, but you are not required to,

find him guilty of a mail fraud or wire fraud count that he is charged with, provided you find,

beyond a reasonable doubt, each of the following five elements:

       First, that the crime charged in the particular substantive fraud count you are considering

was committed;

       Second, that the person or persons you find actually committed the crime were members

of the conspiracy you found to have existed;

       Third, that the substantive crime was committed pursuant to the common plan and

understanding you found to exist among the conspirators;

       Fourth, that the defendant was a member of that conspiracy at the time the substantive

crime was committed;

       Fifth, that the defendant could have reasonably foreseen that the substantive crime might

be committed by his co-conspirators.

       If you find all five of these elements to exist beyond a reasonable doubt, then you may

find a defendant guilty of the specific mail fraud or wire fraud count you are considering, even if

                                                  65
16
  This charge is adapted from the charge given by the Honorable Joan M. Azrack in United States v.
Edward Weaver, 13-CR-120 (JMA), ECF Doc. No. 318, filed Nov. 4, 2015.
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he did not personally participate in the acts constituting the crime or did not have actual

knowledge of it.

         The reason for this rule is simply that a co-conspirator who commits a crime pursuant to a

conspiracy is deemed to be the agent of the other conspirators. Therefore, all of the co-

conspirators can be held criminally responsible for the commission of the crimes committed by

its members.

         If, however, you are not satisfied, beyond a reasonable doubt, as to the existence of any

of these five elements, then you may not find the defendant guilty of the specific mail fraud or

wire fraud count you are considering, unless the government proves, beyond a reasonable doubt,

that the defendant either personally committed or aided and abetted the commission of that            Commented [EAF31]: Do not accept

crime.




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                                      Conscious Avoidance17                                               Commented [JD32]: If the evidence presented at trial
                                                                                                          does not warrant this instruction, defense counsel will seek
                                                                                                          to delete this instruction at the time of the charge
       As I explained, the Government is required to prove that the defendant acted knowingly,
                                                                                                          conference.

as I have already defined that term. In addition to a person actually being aware of a fact, the law

also allows you to find that a defendant had knowledge of a fact when the evidence shows he

was aware of a high probability of that fact but intentionally avoided confirming that fact. The

law calls this “conscious avoidance” or “willful blindness.”

       In determining whether the Government has proven beyond a reasonable doubt that the

defendant acted knowingly with respect to the counts charged in the Indictment, you may

consider whether the defendant deliberately closed his eyes to a fact that would otherwise have

been obvious to him. One may not willfully and intentionally remain ignorant of a fact important

to his conduct in order to escape the consequences of criminal law.

       Thus, if you find that the defendant deliberately acted with a conscious purpose to avoid

learning some relevant fact, then you may treat the defendant as though he knew that the fact

existed. However, guilty knowledge may not be established by demonstrating that a defendant

was merely negligent, foolish, or mistaken, and you may not rely on willful blindness as the

basis for treating a defendant as though he was aware of the existence of a fact if you find that

the defendant actually believed that the fact did not exist. It is entirely up to you whether you

find that a defendant deliberately closed his eyes and any inferences to be drawn from the

evidence on this issue.

       Let me explain what the concept of willful blindness or conscious avoidance means with

respect to the substantive mail fraud and wire fraud charges– Counts Two through Seventeen –



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17
 This charge is adapted from the charge given by the Honorable Katherine B. Forrest in United States v.
Wedd, 1:15-CR-616 (AT), ECF Doc. No. 347-7, filed May 4, 2017.
      Case 2:18-cr-00578-JS Document 83 Filed 05/23/23 Page 69 of 76 PageID #: 511




and then I will explain what it means with respect to the conspiracy charge – Count One in the

Indictment.

       With respect to the substantive counts (the mail fraud alleged in Counts Two through

Thirteen and the wire fraud alleged in Counts Fourteen through Seventeen), in determining

whether the defendant acted knowingly, you may consider whether he deliberately closed his

eyes to what otherwise would have been obvious. Thus, if you find beyond a reasonable doubt

that the defendant you are considering knew there was a high probability of a fact in dispute, but

deliberately and consciously avoided confirming this fact, then you may treat this deliberate

avoidance of positive knowledge as the equivalent of knowledge, unless you find that the

defendant actually believed that the fact did not exist.

       However, with respect to the conspiracy count – Count One – there is a difference

between knowingly participating in the conspiracy and knowing the object or objects of the

conspiracy. “Conscious avoidance,” as I have described it, cannot be used as a basis for finding

that a defendant knowingly joined the conspiracy. It is logically impossible for a defendant to

join a conspiracy unless he knows that the conspiracy exists. However, if you find beyond a

reasonable doubt that the defendant you are considering chose to participate in a joint

undertaking, you may consider whether the defendant deliberately avoided confirming otherwise

obvious facts about the purpose of the agreement, which was to break the law as alleged.

       That is, if you find beyond a reasonable doubt that the defendant you are considering

knew that there was a high probability that his co-conspirators intended to break the law, but that

he deliberately avoided confirming this fact, you may treat this deliberate avoidance of positive

knowledge as the equivalent of knowledge of the object of the charged conspiracy, unless you




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find that the defendant actually believed that he and his co-conspirators were acting in a lawful

manner.




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                                               Venue18

        In addition to the elements I have described for you, you must decide whether any act in

furtherance of the crimes charged in Counts One through Eighteen occurred within the Eastern

District of New York. The Eastern District of New York includes Brooklyn, Queens, Nassau

County, Suffolk County and Staten Island.

        In this regard, the government need not prove that the crime itself was committed in this

district or that the defendant himself was present here. It is sufficient to satisfy this element if

any act in furtherance of the crime occurred within this district.

        I should note that on this issue—and this issue alone—the Government need not prove

beyond a reasonable doubt, but only by a mere preponderance of the evidence. Thus, the                 Commented [JD33]: I would like the court to instruct that
                                                                                                       venue must be proven beyond a resaonable doubt under In
                                                                                                       Re Winship.e
Government has satisfied its venue obligations if you conclude that it is more likely than not that
                                                                                                       Commented [EAF34R33]: Do not accept ‐ “[A]lthough
the criminal act occurred in this District.                                                            venue is grounded in the Sixth Amendment, it is not an
                                                                                                       element of the crime and the government need only
                                                                                                       establish venue by a preponderance of the evidence.”
        If you find that the Government has failed to prove this venue requirement for any count       United States v. Magassouba, 619 F.3d 202, 204 (2d
                                                                                                       Cir. 2010); citing United States v. Smith, 198 F.3d 377,
                                                                                                       384 (2d Cir.1999).
you are considering, then you must acquit the defendant of that charge.




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18
  This proposed charge is adapted from the charge given by the Honorable Joan M. Azrack in the
Transcript of United States v. Frank Parasmo, 19-CR-1 (JMA) (Oct. 6, 2021).
       Case 2:18-cr-00578-JS Document 83 Filed 05/23/23 Page 72 of 76 PageID #: 514




PART III: RULES REGARDING DELIBERATIONS19

        Finally, a few closing remarks.

        Keep in mind that nothing I have said in these instructions is intended to suggest to you in

any way what I think your verdict should be. That is entirely for you to decide.

        By way of reminder, I charge you once again that it is your responsibility to judge the

facts in this case only from the evidence presented during the trial and to apply the law as I have

given it to you to the facts as you find them from the evidence.

        I instruct you that the decision you reach as to each element for each charge in the

indictment must be unanimous; that is, all 12 of you must agree on every element in every count.

I also instruct you to consider each count of the indictment in which the defendant is charged

separately. For example, you may find the defendant guilty of one count and not guilty of

another, or you may find him guilty of all counts or not guilty of any. But again, the verdict on

each element and each count must be unanimous.

        When you retire, it is your duty to discuss the case for the purpose of reaching a verdict.

        Each of you must decide the case for yourself, but should only do so after considering all

the evidence, listening to the views of your fellow jurors, and discussing it fully. It is important

that you reach a verdict if you can do so conscientiously. You should not hesitate to reconsider

your opinions from time to time and to change them if you are convinced that they are wrong.

However, do not surrender an honest conviction as to weight and effect of the evidence simply to

arrive at a verdict.

        Remember also that your verdict must be based solely on the evidence in the case and the

law as I have given it to you, not on anything else. Opening statements, closing arguments, or

                                                 71
19
  This proposed charge is adapted from the charge given by the Honorable Joan M. Azrack in the
Transcript of United States v. Frank Parasmo, 19-CR-1 (JMA) (Oct. 6, 2021).
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other statements or arguments of counsel are not evidence. If your recollection of the facts differs

from the way counsel has stated the facts to be, then your recollection controls.

        And, finally, bear in mind that the government has the burden of proof and that you must

be convinced of the defendants’ guilt beyond a reasonable doubt to return a guilty verdict. If you

find that this burden has not been met, you must return a verdict of not guilty.

        The question of possible punishment of the defendant is of no concern to the jury and

should not, in any sense, enter into or influence your deliberations. The duty of imposing

sentence rests exclusively upon the court. Your function is to weigh the evidence in the case and

to determine whether or not the defendant is guilty beyond a reasonable doubt, solely upon the

basis of such evidence. Under your oath as jurors, you cannot allow a consideration of the

punishment which may be imposed upon the defendant, if he is convicted, to influence your

verdict, in any way, or, in any sense, enter into your deliberations.

        Under your oath as jurors you are not to be swayed by sympathy for one side or the other.

You are to be guided solely by the evidence in this case, and the crucial question that you must

ask yourselves as you sift through the evidence is: has the government proven the guilt of the

defendant beyond a reasonable doubt?

        It is for you alone to decide whether the government has proven that the defendant is

guilty of the crimes charged solely on the basis of the evidence and subject to the law as I charge

you. It must be clear to you that once you let fear, prejudice, bias or sympathy interfere with your

thinking there is a risk that you will not arrive at a true and just verdict.

        If you have a reasonable doubt as to the defendant’s guilt, you must find a verdict of

acquittal. But on the other hand, if you should find that the government has met its burden of




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proving the defendant’s guilt beyond a reasonable doubt, you should not hesitate because of

sympathy or any other reason to render a verdict of guilty.

       When you get into the jury room, before you begin your deliberations, your first act will

be to select one of you to be the foreperson. The foreperson will be responsible for signing all

communications to the court and for handing them to the court security officer during your

deliberations, but of course his or her vote is entitled to no greater weight than any other juror.

       During the trial, I permitted the taking of notes by those of you who wished to do so. At

that time I pointed out that while you could take notes, there is no need for your doing so,

because the court reporter takes down everything that is said in the courtroom and during your

deliberations the court reporter will provide any portion of the transcript you may ask for.

       For those of you who did take notes during the trial, I point out to you and your fellow

jurors that your notes are simply an aid to memory for the particular juror who took notes. You

are instructed that your notes are only a tool to aid your own individual memory and you should

not compare your notes with other jurors in your deliberations. Jurors who did not take notes

should not be influenced by the fact that other jurors have taken notes. Your notes are not

evidence, may be inaccurate, and are by no means a complete recording of the trial testimony.

Any difference between a juror’s recollection and another juror’s notes should be settled by

asking to have the court reporter to read back the transcript, for it is the court record rather than

any juror’s notes upon which the jury must base its determination of the facts and its verdict.

       It is very important that you not communicate with anyone outside the jury room about

your deliberations or about anything touching this case. There is only one exception to this rule.

       If it becomes necessary during your deliberations to communicate with me, you may send

a note, through the court security officer, signed by your foreperson or by one or more members


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of the jury. No member of the jury should ever attempt to communicate with me except by a

signed writing, and I will never communicate with any member of the jury on any subject

touching the merits of the case other than in writing, or orally here in open court. If you send any

notes to the court, do not disclose anything about your deliberations. Specifically, do not

disclose to anyone - not even to me - how the jury stands, numerically or otherwise, on the

question of the guilt or innocence of the defendants, until after you have reached a unanimous

verdict or have been discharged.

       If during your deliberations you want to see any of the exhibits, they will be sent to you

in the jury room upon written request. If you want any of the testimony read, that can also be

done. But, please remember that it is not always easy to locate what you might want, so be as

specific as you possibly can in requesting exhibits or portions of testimony which you may want.

If you request a readback of testimony, please be patient, as it may take some time to locate and

agree upon the specific testimony required.

       I have prepared a verdict sheet, which will be given to you. The verdict sheet is given to

you to record your verdict after you have reached a verdict as to all counts in the indictment.

       When you have reached a decision, have the foreperson sign the verdict form with his or

her juror number and put the date on it - and notify the Marshal by note that you have reached a

verdict.

       I reiterate that any verdict you reach must be unanimous.

       Your oath sums up your duty - and that is - without fear or favor to any person, you will

well and truly try the issues in this case according to the evidence given to you in court and the

laws of the United States.




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       This concludes my instructions. Thank you for your close and careful attention. Members

of the jury, you will now retire to deliberate after I swear in the Marshal. I do ask that, as your

first order of business, you elect a foreperson and send me a note, dated and timed, identifying

that foreperson to the court.




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